Case 3:19-bk-30822          Doc 7 Filed 04/26/19 Entered 04/27/19 00:22:48                     Desc Imaged
                                 Certificate of Notice Page 1 of 2



    This document has been electronically entered in the records of the United
    States Bankruptcy Court for the Southern District of Ohio.


    IT IS SO ORDERED.



   Dated: April 24, 2019



   ________________________________________________________________

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        Case 3:19-bk-30822             Doc 7 Filed 04/26/19 Entered 04/27/19 00:22:48                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                 Southern District of Ohio
In re:                                                                                                     Case No. 19-30822-grh
Tagnetics Inc.                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0648-3                  User: chipmanm                     Page 1 of 1                          Date Rcvd: Apr 24, 2019
                                      Form ID: pdf01                     Total Noticed: 7


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 26, 2019.
db              Tagnetics Inc.,    3415 RT 36,    Piqua, OH 45356
ptcrd          +Jonathan Hager,    2170 River Oaks Drive,    Salem, VA 24153-7368
ptcrd          +Kayser Ventures Ltd,    1872 Pratt Dr,    Ste 1800,   Blacksburg, VA 24060-6323
ptcrd          +Kenneth W Kayser,    PO Box 115,    Catawba, VA 24070-0115
ptcrd          +Robert Strain,    427 Artell St,    Marcengo, IL 60152-3205
ptcrd          +Ronald E. Early,    6429 Winding Tree Dr,    New Carlise, OH 45344-9168
ptcrd          +S-Tek Inc.,    1100 Wayne St,    Suite 5000,   Troy, OH 45373-3071

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 26, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 24, 2019 at the address(es) listed below:
              Asst US Trustee (Day)   USTPRegion09.CB.ECF@usdoj.gov
              Robert R Kracht   on behalf of Debtor   Tagnetics Inc. rrk@mccarthylebit.com
                                                                                            TOTAL: 2
